      Case 3:21-cv-00931-E Document 11 Filed 07/13/21                 Page 1 of 3 PageID 55



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 BRET SCHMIDT                                            §
          Plaintiff,                                     §
                                                         §
 v.                                                      §   CIVIL ACTION NO. 3:21-cv-00931-E
                                                         §
 CALIBER HOME LOANS, INC.,                               §
           Defendant.                                    §
                                                         §

 DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS AND BRIEF IN
    SUPPORT, AND IN THE ALTERNATIVE, MOTION FOR MORE DEFINITE
                            STATEMENT

        Defendant Caliber Home Loans, Inc. (“Caliber”), files this Reply in Support of its Motion

to Dismiss Plaintiff Bret Schmidt’s (“Plaintiff”) Complaint pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, and in the alternative, Motion for More Definite Statement

Pursuant to Rule 12(e) (the “Motion”) (Doc. 8), stating as follows:

        1.      Plaintiff’s Response to the Motion confirms that the Court should dismiss

Plaintiff’s FCRA claim because the claim is barred by the applicable statute of limitations.

        2.      The FCRA has a two-year statute of limitations after the date of discovery by the

plaintiff of the violation that is the basis for such alleged liability or five years after the date on

which the violation that is the basis for such liability occurs, whichever is earlier. 15 U.S.C. §

1681p. The limitations period begins to run when the plaintiff discovers the facts giving rise to a

claim, rather than when he discovers that those facts constitute a legal violation. Mack v. Equable

Ascent Fin., L.L.C., 748 F.3d 663, 665-66 (5th Cir. 2014). The relevant discovery is that of the

violation that is the basis for liability. Id. at 665.

        3.      The violation that Plaintiff alleges is that Caliber wrongly reported the debt to the

CRAs and failed to conduct an investigation into Plaintiff’s complaints. See Amended Compl. ¶



93083214v.1
    Case 3:21-cv-00931-E Document 11 Filed 07/13/21                            Page 2 of 3 PageID 56



37 (Doc. 9).1 However, Plaintiff knew of the alleged inaccurate reporting in April 2018 – when he

made complaints to the CRAs and when, in turn, Caliber investigated Plaintiff’s complaints. See

Exhibits B and C to Motion (Doc. 8-1). Therefore, Plaintiff had or should have had knowledge of

the “facts that [give] rise to a claim” under the FCRA no later than April 2018. Mack, 748 F.3d

665-66. Because Plaintiff did not file suit against Caliber until April 23, 2021, Plaintiff’s claim is

time-barred.

        4.       Plaintiff alleges that Caliber failed to investigate or change the “incorrect report”

when he submitted his “most recent disputes” with the CRAs in December 2019. Id. ¶ 31. To the

extent that Plaintiff alleges that each alleged dispute with the CRAs or Caliber re-starts the clock

for purposes of the statute of limitations, the court should also reject this argument. Fillmore v.

Equifax Information Services, LLC, 2017 WL 9292186, at *2 (W.D. Tex. July 17, 2017); see also

Bittick v. Experian Info. Sols., 419 F.Supp. 2d. 917, 919 (N.D. Tex. 2006) (pointing out that to

hold otherwise “would allow plaintiffs to indefinitely extend the limitations period by simply

sending another complaint letter to the credit reporting agency.”). To the extent that Plaintiff

alleges a “continuing injury” from the allegedly incorrect credit reporting or advances the

argument that the statute of limitations should not apply, the court should decline to recognize the

continuing injury argument in the context of FCRA claims as other courts have held. See e.g.,

Sparks v. Countrywide Home Loans, Inc., 2015 WL 6556542, at *5 (E.D. KY Oct. 2015); Lawhorn

v. Trans Union Credit Information Corp., 515 F.Supp. 19 (E.D. Mo. 1981); see also Bermundez

v. Equifax Info. Servs., LLC, 2008 WL 5235161, at *2 (M.D. Fla. Dec. 15, 2008). Plaintiff’s FCRA

claim is time-barred and should be dismissed.


1
  The Motion was based on Plaintiff’s Original Complaint. (Doc. 1) Plaintiff filed a First Amended Complaint
simultaneous with his Response to the Motion to Dismiss. (Doc. 8). Plaintiff’s First Amended Complaint alleges
minimal new facts and adds three new paragraphs in attempt to overcome the statute of limitations issue. See Amended
Compl. ¶¶ 31-33.


93083214v.1
    Case 3:21-cv-00931-E Document 11 Filed 07/13/21             Page 3 of 3 PageID 57



                                           Respectfully submitted,

                                           LOCKE LORD LLP

                                           /s/ Jennifer Juergens
                                           Robert T. Mowrey
                                             State Bar No. 14607500
                                             rmowrey@lockelord.com
                                           Christopher M. Boeck
                                             State Bar No. 24050301
                                             cboeck@lockelord.com
                                           2200 Ross Avenue, Suite 2800
                                           Dallas, Texas 75201-6776
                                           Telephone: (214) 740-8000
                                           Facsimile: (214) 740-8800

                                           Jennifer Juergens
                                             State Bar No. 24101983
                                             Jennifer.juergens@lockelord.com
                                           JPMorgan Chase Tower
                                           600 Travis Street, Suite 2800
                                           Houston, Texas 77002
                                           Telephone: (713) 226-1200
                                           Facsimile: (713) 223-3717

                                           COUNSEL FOR DEFENDANT
                                           CALIBER HOME LOANS, INC.


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon all counsel of record as indicated below on this 13th day of July 2021:

VIA ECF
Sharon K. Campbell
3500 Oak Lawn Ave., Suite 110
Dallas, Texas 75205
Phone: (214) 351-3260
Fax: (214) 4436055
Email: sharon@SharonKCampbell.com
Attorney for Plaintiff
                                           /s/ Jennifer Juergens
                                           Counsel for Defendant




93083214v.1
